






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-12-00197-CV






In re John Mark Quaak






ORIGINAL PROCEEDING FROM WILLIAMSON COUNTY





M E M O R A N D U M   O P I N I O N


		Relator, John Mark Quaak, an inmate in the Texas Department of Criminal Justice,
filed a pro se petition seeking a "restraining order with preliminary preventive injunction" in
this&nbsp;Court.  Looking to the substance of Quaak's petition, rather than its title or form, we
construe&nbsp;his&nbsp;petition as a petition for writ of mandamus.  See Surgitek, Bristol-Myers Corp. v. Abel,
997&nbsp;S.W.2d&nbsp;598, 601 (Tex. 1999) (courts look to substance of pleading rather than its caption or
form to determine its nature); see also Tex. Gov't Code Ann. § 22.221 (West Supp. 2010); Tex. R.
App. P. 52.1.  In his petition, Quaak asks us to compel certain named individuals of the law library
staff and administrative staff of the Neal Unit of the Texas Department of Criminal Justice to take,&nbsp;or
refrain from taking, particular actions in connection with providing him with legal writing&nbsp;supplies.

		This Court does not have mandamus jurisdiction over the Texas Department of
Criminal Justice or personnel thereof.  By statute, this Court has the authority to issue a writ of
mandamus against "a judge of a district or county court in the court of appeals district" and other
writs as necessary to enforce our appellate jurisdiction.  See Tex. Gov't Code Ann. § 22.221.  Staff
members of the Neal Unit are not parties against whom we may issue a writ of mandamus.  Nor has
Quaak demonstrated that the exercise of our writ power is necessary to enforce our jurisdiction.  We
have no jurisdiction to grant Quaak any relief.

		Accordingly, the petition is dismissed for want of jurisdiction.


						__________________________________________

						J. Woodfin Jones, Chief Justice

Before Chief Justice Jones, Justices Pemberton and Rose

Dismissed For Want of Jurisdiction

Filed:   May 3, 2012


